

Matter of Euvonne G. v Martin F.B. (2021 NY Slip Op 00012)





Matter of Euvonne G. v Martin F.B.


2021 NY Slip Op 00012


Decided on January 05, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 05, 2021

Before: Webber, J.P., Singh, Kennedy, Shulman, JJ. 


Docket No. V-07322-19/19A Appeal No. 12772 Case No. 2020-01421 

[*1]In the Matter of Euvonne G., Petitioner-Respondent,
vMartin F.B., Respondent-Appellant.


Steven P. Forbes, Jamaica, for appellant.
Leslie S. Lowenstein, Woodmere, for respondent.



Appeal from order, Family Court, Bronx County (Sue Levy, Referee), entered on or about December 11, 2019, which dismissed on default the petition to modify an order of custody and visitation, without prejudice, unanimously dismissed, without costs, as academic.
During the pendency of this appeal, on June 15, 2020, the parties entered into a stipulation in which petitioner agreed, inter alia, not to file any further petitions or motions regarding visitation without express permission by the court upon a showing by petitioner of a change in circumstances and an affirmative written statement by the child to petitioner that she wished to see or speak to petitioner. These restrictions on petitioner's ability to file further petitions have rendered academic respondent's
argument that the March 7, 2019, Modification Petition should have been dismissed "with prejudice" to prevent further frivolous filings. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 5, 2021








